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                IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

IN RE:                                    §
                                          §            Case No. 22-60043
FREE SPEECH SYSTEMS, LLC,                 §
                                          §            Chapter 11 (Subchapter V)
      Debtor                              §

                           SANDY HOOK FAMILIES’
                          WITNESS AND EXHIBIT LIST

 Judge                  Hon. Christopher M. Lopez
 Hearing Date           Monday, March 27, 2023
 Hearing Time           1:00 p.m. (CST)
 Party’s Name           Sandy Hook Families (as defined below)
 Attorney’s Names       Ryan Chapple (Connecticut Plaintiffs)
                        Avi Moshenberg, Jarrod Martin (Texas Plaintiffs)
 Attorney’s Phone       512-477-5000 (Ryan Chapple)
                        713-337-5580 (Avi Moshenberg)
                        713-356-1280 (Jarrod Martin)
 Nature of Proceeding   Cash Collateral Motion [Dkt. 6]

      Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa, and Marcel

Fontaine (collectively, the “Texas Plaintiffs”) and David Wheeler, Francine Wheeler,

Jacqueline Barden, Mark Barden, Nicole Hockley, Ian Hockley, Jennifer Hensel, Donna

Soto, Carlee Soto Parisi, Carlos M. Soto, Jillian Soto-Marino, William Aldenberg, William

Sherlach, and Robert Parker (collectively, the “Connecticut Plaintiffs” and together, the

“Sandy Hook Families”) hereby submit this Witness and Exhibit List in connection with

the hearing on Debtor’s Emergency Motion for an Interim and Final Orders

(I) Authorizing the Use of Cash Collateral Pursuant to Sections 105, 361, and 363 of the

Bankruptcy Code and Federal Rule of Bankruptcy Procedure 4001(B) and (II) Granting

Adequate Protection to the Pre-Petition Secured Lender (the “Cash Collateral Motion”)

[Dkt. 6]; to be held on Monday, March 27, 2023 at 1:00 p.m. (Central Standard Time):



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       The Sandy Hook Families reserve the right to supplement, amend, or revise this

Witness and Exhibit List at any time prior to the hearing. The Sandy Hook Families

reserve the right to supplement the Witness and Exhibit List with new witnesses and

additional exhibits. Further, the Sandy Hook Families reserve the right to use any

exhibits presented by any other party and to ask the Court to take judicial notice of any

document. The Sandy Hook Families further reserve the right to introduce exhibits

previously admitted.

                                         WITNESS LIST

       The Sandy Hook Families may call the following witnesses at the hearing:
   1. Patrick Magill, Chief Restructuring Officer of Debtor;
   2. Any witness necessary to rebut the testimony of any witness called or designated
      by any other parties;
   3. Any witness listed or called by any other party.

                                         EXHIBIT LIST

       The Sandy Hook Families may offer for admission into evidence any of the

following exhibits at the hearing:

                                                               Admitted/   Disposition
 No.            Description               Offered Objection      Not
                                                               Admitted
  1.   Debtor’s Emergency Motion for
       an Interim and Final Orders
       (I) Authorizing the Use of Cash
       Collateral Pursuant to Sections
       105, 361, and 363 of the
       Bankruptcy Code and Federal
       Rule of Bankruptcy Procedure
       4001(b) and (II) Granting
       Adequate Protection to the Pre-
       Petition Secured Lender
       [Dkt. 6]

  2.   Declaration of W. Marc
       Schwartz in Support of




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        Voluntary Petition and First
        Day Motions [Dkt. 10]

  3.    Interim Order Authorizing
        Debtor’s Use of Cash Collateral
        and Providing Partial Adequate
        Protection [Dkt. 41]

  4.    Order Modifying Interim Order
        Authorizing Debtor’s Use of
        Cash Collateral and Providing
        Partial Adequate Protection
        [Dkt. 64]

  5.    Second Interim Order
        Authorizing Debtor’s Use of
        Cash Collateral and Providing
        Partial Adequate Protection
        [Dkt. 98]

  6.    Third Interim Order
        Authorizing Debtor’s Use of
        Cash Collateral and Providing
        Partial Adequate Protection
        [Dkt. 151]

  7.    Fourth Interim Order
        Authorizing Debtor’s Use of
        Cash Collateral and Providing
        Partial Adequate Protection
        [Dkt. 238]

  8.    Fifth Interim Order Authorizing
        Debtor’s Use of Cash Collateral
        and Providing Partial Adequate
        Protection [Dkt. 258]

  9.    Sixth Interim Order Authorizing
        Debtor’s Use of Cash Collateral
        and Providing Partial Adequate
        Protection [Dkt. 287]

 10.    Seventh Interim Order
        Authorizing Debtor’s Use of
        Cash Collateral and Providing
        Partial Adequate Protection
        [Dkt. 333]

  11.   Eighth Interim Order
        Authorizing Debtor’s Use of
        Cash Collateral and Providing




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       Partial Adequate Protection
       [Dkt. 403]

 12.   Ninth Interim Order
       Authorizing Debtor’s Use of
       Cash Collateral and Providing
       Partial Adequate Protection
       [Dkt. 459]

       Any document or pleading filed
       in the above-captioned case

       Any exhibits identified or
       offered by any other party

       Any exhibits necessary for
       impeachment and/or rebuttal
       purposes


       Respectfully submitted this 23rd day of March 2023.

                                        MCDOWELL HETHERINGTON LLP

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                                        Counsel for the Texas Plaintiffs

                                        -and-

                                        CHAMBERLAIN, HRDLICKA, WHITE,
                                           WILLIAMS & AUGHTRY, PC

                                        By: /s/Jarrod B. Martin
                                        Jarrod B. Martin
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                                        Bankruptcy Counsel for the Texas
                                        Plaintiffs




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                                          By: /s/ Ryan E. Chapple
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                                          512-477-5000
                                          512-477-5011—Facsimile
                                          Bankruptcy Counsel for Connecticut
                                          Plaintiffs

                             CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Witness and Exhibit
List has been served on counsel for Debtor, Debtor, and all parties receiving or entitled to
notice through CM/ECF on this 23rd day of March 2023.


                                          /s/ Ryan E. Chapple
                                          Ryan E. Chapple




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